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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 ROBERT BACON and
 EAST COBB SPINE &
 SPORT CHIROPRACTIC, LLC,
                                            CIVIL FILE
       Plaintiffs,                          ACTION NO.

 v.

 HAILEY RANDALL,

       Defendant.


                                 COMPLAINT

1.    Plaintiff Robert Bacon (“Dr. Bacon”) and East Cobb Spine & Sport

Chiropractic, LLC (the “Company,” together with Dr. Bacon, the “Bacon Parties”)

bring this action against Defendant Hailey Randall (“Dr. Randall”) seeking

to recover compensatory monetary damages in a principal amount exceeding

$75,000, plus punitive damages, attorney’s fees, legal expenses, and costs of court,

with all of the foregoing damages arising from injuries sustained in the State of

Georgia, which were caused by the actions of Dr. Randall within the State of

Georgia, including defamatory statements made to third parties and the financial

harm caused to Dr. Bacon therefrom.

                        JURISDICTION AND VENUE



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2.      The court has jurisdiction over Dr. Bacon’s claims pursuant to 28 U.S.C. §

1332.

3.      Subject matter is proper on diversity grounds, as complete diversity exists

between the parties and the amount in controversy exceeds $75,000.

4.      The Court has personal jurisdiction over Dr. Randall, as she has sufficient

contacts with the forum state, Georgia. Until recently, Dr. Randall lived in Georgia

and worked in Alpharetta, Georgia as a chiropractor. Additionally, the defamatory

statements made by Dr. Randall were made while she resided in Georgia to other

individuals in Georgia. Those defamatory statement injured the Bacon Parties in

Georgia.

5.      Venue is appropriate in the Northern District of Georgia because a substantial

part of the events giving rise to the claims occurred within this district. See 28 U.S.C.

§ 1391(b)(2). Specifically, Dr. Bacon resides in this district, the Company has its

principal place of business, registered agent, and operations in this district, and the

conduct of Dr. Randall causing the injuries to the Bacon Parties occurred in this

district.

                                      PARTIES

6.      Dr. Bacon is an individual resident of the State of Georgia.




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7.    The Company is a Georgia entity operating and registered to do business in

the State of Georgia. All members of the Company are residents of the State of

Georgia.

8.    Dr. Randall is an individual residing in the State of North Carolina and may

be served wherever she may be located. Upon information and belief, Dr. Randall

currently resides at 14 Surrey Run, Asheville, North Carolina 28803. Dr. Randall

also currently works at Comprehensive Chiropractic and Functional Medicine,

which is located at 1218 Hendersonville Road, Ashville, North Carolina 28803.

                          FACTUAL BACKGROUND

9.    Dr. Bacon is the owner and operator of the Company.

10.   The Bacon Parties were affiliated with Life University, a private university

focused on training chiropractors, through Life University’s PEAK clinical program.

11.   The PEAK clinical program allows Life University students to complete their

clinic requirements for Life University as student interns under the supervision and

direction of an off-campus doctor.

12.   These off-campus doctors, such as Dr. Bacon, also help the PEAK clinical

program interns make the transition from school to practice, meaning that the student

interns not only get hands-on chiropractic experience, but also learn how to operate

a chiropractic practice from a business perspective.




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13.   In October 2022, Dr. Randall began working as a PEAK clinical program

student intern with the Bacon Parties, along with other student interns from Life

University.

14.   The student interns in the PEAK clinical program at the Company engaged in

both supervised chiropractic work—including the Total Body Assessment club (the

“TBA”), where the student interns would perform chiropractic adjustments on other

consenting student interns—and non-chiropractic work, such as learning about

business development by assisting in aspects of the business such as marketing.

15.   From October 2022 to January 2023, Dr. Randall was supervised by Dr.

Bacon.

16.   From January 2023 to April 2023, Dr. Randall was supervised by Dr. Sarah

Wilkie, another chiropractor employed by the Company.

17.   Towards the end of Dr. Randall’s internship with the Bacon Parties, Dr. Bacon

and Dr. Randall agreed on a business relationship where Dr. Bacon would assist Dr.

Randall with opening a chiropractic office.

18.   Dr. Randall graduated from Life University of April 3, 2023 and, before

receiving her chiropractor’s license, began working for the Company performing

non-chiropractic tasks, such as nutritional consults, creating social media posts, and

helping with front-desk activities as needed, in exchange for compensation of $500

per week.


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19.    On April 11, 2023, Dr. Randall signed a Confidentiality and Non-Disclosure

Policy (the “Confidentiality Agreement”) with the Company. A true and correct

copy of the Confidentiality Agreement is attached hereto as Exhibit “A.”

20.    The purpose of the Confidentiality Agreement “is to ensure that each

employee and business associate of [the Company] is aware of the importance of

confidentiality and the significant consequences that will result from violation of this

Policy by the unauthorized disclosure of sensitive and confidential matters related

to [the Company]” and “to put in writing the moral, ethical and legal commitment

to maintaining the highest level of integrity and confidentiality as it pertains to

private, secret, sensitive or confidential information, matters or issues (restricted

information or material) of [the company] whose employees . . . may learn as a result

of association or employment with [the Company].” Id. ¶ II.

21.    The Confidentiality Agreement restricts Dr. Randall’s use of information

while working with the Bacon Parties and prevents Dr. Randall from using that

information afterwards.

22.    In that regard, the Confidentiality Agreement states: “Restricted information

shall include, but not be limited to, all information, matters and issues, whether

know to the public or not, that would be considered private, secret, or confidential

. . . .” Id. ¶ III (emphasis supplied).




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23.   On April 19, 2023, Dr. Randall participated in running the TBA, where Dr.

Bacon instructed her to demonstrate chiropractic setups but not perform chiropractic

adjustments.

24.   Despite being instructed not to perform chiropractic adjustments, Dr. Randall

performed chiropractic adjustments at that time.

25.   Dr. Bacon reprimanded Dr. Randall for performing those chiropractic

adjustments without appropriate supervision from a licensed chiropractor.

26.   On April 23, 2023, Dr. Randall and Dr. Bacon were scheduled to have a

meeting to discuss the details of setting up her new office location.

27.   Dr. Randall arrived to the meeting more than an hour late, without informing

Dr. Bacon that she would be late, and Dr. Bacon informed her that such behavior

was unacceptable.

28.   On April 30, 2023, Dr. Randall skipped another scheduled meeting with Dr.

Bacon to discuss the details of setting up the new office location so she could attend

the Taylor Swift concert in downtown Atlanta.

29.   On May 1, 2023, Dr. Randall went to work, but while at the Company’s office,

video footage showed that she spent the vast majority of her time in her office with

her head on her desk, apparently recovering from being out for the concert and not

being up to working. Other student interns corroborated Dr. Randall's behavior.




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30.   On May 2, 2023, Dr. Randall sent Dr. Bacon a text informing Dr. Bacon that

she was going to work somewhere else as she had found a new job opportunity. After

this date, Dr. Randall did not return to return to the Company for work.

31.   As part of preparing for Dr. Randall to begin working with Dr. Bacon, the

Company spent $9,000.00, which included creating a new legal entity to operate the

new chiropractic office location and hiring a consultant to assist with preparing that

office for opening.

32.   On May 22, 2023, Dr. Randall contacted Life University and the Georgia

Board of Chiropractic Examiners (the “Board”) and made allegations against the

Bacon Parties regarding the Bacon Parties and student interns in the PEAK clinical

program.

33.   Specifically, Dr. Randall alleged that:

           a. Dr. Bacon took frequent vacations and left students in the Company’s

              office to perform adjustments without supervision in violation of PEAK

              clinical program rules and Georgia regulations governing chiropractors.

              These adjustments without supervision were allegedly on:

                   i.   October 6, 7, 10, 20, 21, and 31, 2022;

                  ii.   February 2, 3, 15, 16, and 17, 2023; and

                 iii.   March 3, 6, 7, 8, 16, and 17, 2023;




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          b. Dr. Bacon intimidated Dr. Randall and other student interns and told

               Dr. Randall and those other student interns not to report violations of

               PEAK clinical program rules and Georgia regulations governing

               chiropractors; and

          c. Dr. Randall never took a single patient care note—attributing that

               failure to Dr. Bacon—that no notes were ever kept on patient care, and

               when patient care notes were requested, they were fabricated.

34.   These statements were, and are, false.

35.   On May 22, 2023, Dr. John Markham (“Dr. Markham”), the PEAK clinical

program director at Life University, emailed Dr. Bacon and informed Dr. Bacon of

the allegations made by Dr. Randall. A true and correct copy of Dr. Markham’s May

22, 2023 email is attached hereto as Exhibit “B.”

36.   On May 23, 2023, Dr. Markham again emailed Dr. Bacon and stated, in part,

that “[t]he complaints if true are serious. If they are not true they are also serious.”

A true and correct copy of Dr. Markham’s May 23, 2023 email is attached hereto as

Exhibit “C.”

37.   On June 15, 2023, Dr. Markham emailed Dr. Bacon and stated that “[w]e find

no merit to the assertion that you left students in PEAK unsupervised. We find no

merit to the assertion that you do not keep patient records.” A true and correct copy

of Dr. Markham’s June 15, 2023 email is attached hereto as Exhibit “D.”


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38.    In the same email, Dr. Markham also stated that “[i]n an abundance of caution,

we will place your PEAK status on Inactive until this matter is resolved. Your

students scheduled for Summer quarter will need to find an alternate PEAK office.”

Id.

39.    On August 11, 2023, Dr. Markham sent Dr. Bacon a letter informing Dr.

Bacon that he was being suspended from the PEAK clinical program. A true and

correct copy of Dr. Markham’s August 11, 2023 email is attached hereto as Exhibit

“E.”

40.    The letter further stated that “[a]s a recipient of the original complaint, the

Georgia Board of Chiropractic Examiners has requested a copy of our report of

findings and we have complied with that request.” Id.

41.    Dr. Bacon made requests to both Life University and the Board for a copy of

the report of findings but has not received a copy of the report of findings.

42.    As a result of Dr. Randall’s false and malicious statements made to Life

University and the Board, Dr. Bacon was indefinitely suspended from the PEAK

clinical program.

43.    Because Dr. Bacon was suspended from the PEAK clinical program as a result

of Dr. Randall’s defamatory statements, the Bacon Parties were required to replace

the work normally done by student interns with paid employees, resulting in

substantial damages.


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44.    Since Dr. Bacon’s indefinite suspension from the PEAK clinical program, the

Company has spent approximately $60,000.00 on salary for an additional

chiropractor.

45.    Additionally, the Company has spent approximately $30,000.00 to pay a

social media manager to handle the Company’s social media presence previously

handled by PEAK clinical program interns.

46.    On May 18, 2024, the Bacon Parties sent Dr. Randall a demand for retraction

of her false and defamatory statements (the “Demand Letter”). A true and correct

copy of the Demand Letter is attached hereto as Exhibit “F.”

47.    The Bacon Parties did not receive a response to the Demand Letter prior to

filing this suit.

                       COUNT ONE: DEFAMATION PER SE
                    PURSUANT TO O.C.G.A. §§ 51-5-1 AND 51-5-4

48.    The Bacon Parties incorporate by reference all preceding paragraphs of this

Complaint as if fully restated herein.

49.    Dr. Randall made the false and defamatory statements regarding Dr. Bacon

and described in this Complaint to Life University and the Board.

50.    Dr. Randall’s statements were unprivileged communications to a third party.

51.    Dr. Randall made these statements with malicious intent to harm Dr. Bacon’s

professional occupation as a chiropractor.

52.    Dr. Randall’s statements constitute defamation per se.
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53.   Because Dr. Randall’s statements were per se defamatory, special harm is

assumed.

54.   Because Dr. Randall’s statements were intended to harm Dr. Bacon’s

occupation as a chiropractor, those statements constitute defamation per se.

55.   Dr. Bacon’s damages include the approximately $60,000.00 spent to hire an

additional chiropractor and the approximately $30,000.00 spent to hire a social

media manager because Life University suspended Dr. Bacon indefinitely from the

PEAK clinical program.

                   COUNT TWO: BREACH OF CONTRACT

56.   The Bacon Parties incorporate by reference paragraphs 1 through 47 of this

Complaint as if fully set forth herein.

57.   Dr. Randall and the Company entered into the Confidentiality Agreement.

58.   By contacting Life University and the Board regarding the Company’s

operations and using information learned as an employee of the Company, Dr.

Randall breached the Confidentiality Agreement.

59.   In breaching the Confidentiality Agreement, the Company has been damaged

in an amount to be proven at trial, but of not less than $90,000 for employees to

replace the lost work of PEAK clinical program interns.

           COUNT THREE: NEGLIGENT MISREPRESENTATION




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60.   The Bacon Parties incorporate by reference paragraphs 1 through 47 of this

Complaint as if fully set forth herein.

61.   Dr. Randall and Dr. Bacon, on behalf of the Company, agreed to enter into a

business arrangement for Dr. Randall to open a new chiropractor’s office with Dr.

Bacon.

62.   Dr. Randall represented to Dr. Bacon that she would enter into a business

relationship with him after she was a licensed chiropractor.

63.   Dr. Bacon reasonably relied on this representation and caused the Company

to spend approximately $9,000.00 in preparation for Dr. Randall becoming a

business partner with Dr. Bacon, including payments for a consultant and to set up

a new company.

64.   Accordingly, the Company has been damaged in the principal amount of

approximately $9,000.00 due to Dr. Randall’s negligent misrepresentations.

                    COUNT FOUR: PUNITIVE DAMAGES

65.   The Bacon Parties incorporate by reference paragraphs 1 through 47 of this

Complaint as if fully set forth herein.

66.   Dr. Randall’s actions have shown willful misconduct, malice, fraud,

wantonness, oppression, or that entire want of care which would raise the

presumption of conscious indifference to consequences.




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67.   An award of punitive damages of not less than $400,000 should be entered to

punish, penalize, or deter Dr. Randall from making defamatory statements in the

future and making negligent misrepresentations to others.

          COUNT FIVE: ATTORNEYS’ FEES AND COURT COSTS

68.   The Bacon Parties incorporate by reference paragraphs 1 through 47 of this

Complaint as if fully set forth herein.

69.   Dr. Randall’s actions have caused the Bacon Parties to incur legal fees in order

to bring this lawsuit and to file this action to obtain relief from this Court.

70.   The Bacon Parties are entitled to recover their full legal fees, legal expenses,

and costs of court.

      WHEREFORE, the Bacon Parties pray that this Court:

                   i.   Issue Summons against Dr. Randall;

                  ii.   After trial, enter Judgment against Dr. Randall for the

                        monetary damages outlined in this Complaint, plus costs of

                        court, attorneys’ fees, and such further consequential

                        damages as may be suffered by the Bacon Parties;

                 iii.   Award punitive damages against Dr. Randall; and

                 iv.    Grant such other and further relief as the Court deems proper

                        and just.

      This 22nd day of May, 2024.


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                                           Respectfully submitted,

                                           /s/ Michael D. Robl
                                           Michael D. Robl
                                           Georgia Bar No. 610905

                                           /s/ Maxwell W. Bowen
                                           Maxwell W. Bowen
                                           Georgia Bar No. 719784

3754 Lavista Road
Suite 250
Tucker, Georgia 30084
Tel: (404) 373-5153 (Michael Robl)
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Counsel for Plaintiffs




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           EXHIBIT C
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From: Dr. John Markham <john.markham@life.edu>
Date: Tue, May 23, 2023 at 8:01 AM
Subject: PEAK Complaint
To: drbobbacon21@gmail.com <drbobbacon21@gmail.com>


Dr. Bacon,

Thank you for your reply. I would love to meet with you as soon as possible. I can visit for a few minutes
this morning if you have a way to squeeze out a few minutes or perhaps tomorrow morning?

The complaints if true are serious. If they are not true they are also serious. I just need to know what is
true. I appreciate your willingness to help me sort this out.

Let me know what works best.


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Dr. Markham




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           EXHIBIT D
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From: Dr. John Markham <john.markham@life.edu>
Date: Thu, Jun 15, 2023 at 12:48 PM
Subject: Regarding Complaint
To: Dr. Bob Bacon <drbobbacon21@gmail.com>
Cc: Dr. Michael Clusserath <michael.clusserath@life.edu>


Dr. Bacon,



I had a meeting this morning with Dr. Clusserath, the Dean of the College of Chiropractic, regarding the complaints made
against you. He would like to schedule an on campus meeting with you and I and Dr. Sean Finnegan, the Director of C-
HOP Clinic, during the week of July 10 -14. Please let me know if there is a day and time that you prefer and I will
organize the meeting.



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We find no merit to the assertion that you left students in PEAK unsupervised. We find no merit to the assertion that
you do not keep patient records.

The assertions that you hold club meetings for students where adjustment techniques are taught and practiced seems
credible. In an abundance of caution, we will place your PEAK status on Inactive until this matter is resolved. Your
students scheduled for Summer quarter will need to find an alternate PEAK office. I will be following up with them but
wanted you to know.



Respectfully,



John F. Markham DC



Life University

Director of PEAK

1415 Barclay Circle, Marietta, GA 30060




770-426-2980




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            EXHIBIT E
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                                      AFFILIATED WITH LIFE UNIVERSITY




11 August 2023




Dear Dr. Bacon,

We have completed our investigation of the complaints made by your former PEAK
intern on May 22, 2023. The findings have been reviewed by the Dean and the other
Clinic Directors.

Based on the results of that investigation, we have suspended you from the PEAK
program. There appears to be credible evidence that you allowed students to perform
adjustments in the “club” meetings, including even lower quarter students. In addition
several former interns indicated they did not routinely take daily soap notes. The
question of student interns being left unsupervised was not resolved.

As a recipient of the original complaint, the Georgia Board of Chiropractic Examiners
has requested a copy of our report of findings and we have complied with that request.

Respectfully,




John Markham DC
Director of PEAK




         Like us on    /LIFEChiropracticCentersMainCampus | Follow us on        /lifechiropracticcenters
1415 Barclay Circle | Marietta, Ga 30060 | (770) 792-6100 | Fax (770) 792-6113 | LIFEchiropractic.com
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                                  ROBL LAW GROUP LLC
                                   A t t o r n e y s            a t     L a w



                                                May 17, 2024


Via U.S. Mail and E-Mail

Hailey Randall
Comprehensive Chiropractic and Functional Medicine
1218 Hendersonville Road
Asheville, North Carolina 28803
haileymrandall@yahoo.com
hailey.randall@student.life.edu

       RE:      Demand for retraction of statements made against Dr. Robert Bacon on May 22, 2023.

Dear Ms. Randall,

        Our firm has been engaged to represent Dr. Robert Bacon (“Dr. Bacon”) and his company East
Cobb Spine & Sport Chiropractic, LLC (the “Company,” together with Dr. Bacon, the “Bacon Parties”)
as to certain defamatory statements made by you on or about May 22, 2023. The Bacon Parties intend
to file a lawsuit against you early next week unless you retract those statements by 5:00 p.m. on
Monday, May 20, 2024.

I.     A history of your relationship with the Bacon Parties.

        We understand that while you were a student at Life University, you began working with the
Bacon Parties as an intern as part of Life University’s PEAK clinical program. Your internship with the
Bacon Parties ran from October 2022 to March 2023, when you graduated from Life University. While
an intern at the Company, you were supervised by Dr. Bacon for the first three (3) months of your
internship and Dr. Sarah Wilkie for the final three (3) months. Towards the end of your internship, you
and Dr. Bacon agreed on a business relationship where Dr. Bacon would assist you with opening a
chiropractic office.

       On April 3, 2023, after you graduated from Life University but before you received your
chiropractor’s license, you began working for the Company performing non-chiropractic tasks, such as
performing nutritional consults, creating social media posts, and helping with front desk activities as
needed. Your compensation for this work was $500 per week.

      On April 11, 2023 you signed a Confidentiality and Non-Disclosure Policy (the “Confidentiality
Agreement”), a copy of which is enclosed with this letter.

      On April 19, 2023, you participated in running the Total Body Assessment (“TBA”) club, where
you were instructed to demonstrate setups but not perform adjustments. Nonetheless, it came to Dr.
Bacon’s attention later that you did perform chiropractic adjustments at that time.



     3754 Lavista Road, Suite 250 | Tucker, Georgia 30084 | Telephone: (404) 373-5153 | Facsimile: (404) 537-1761
                          Website: www.roblgroup.com | Email: michael@roblgroup.com
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                                   ROBL LAW GROUP LLC
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       The week of April 17, 2023 to April 21, 2023, you took the majority of the week off to complete
your Orangetheory Fitness certification. Because you did not work in the office this week, you were
not paid for the time you took off.

        On April 23, 2023, you arrived more than an hour late, without informing Dr. Bacon you would
be late, for a meeting with Dr. Bacon to discuss the details of setting up your new office location. Dr.
Bacon informed you that such behavior was unacceptable.

        On April 30, 2023, you skipped another scheduled meeting with Dr. Bacon to discuss the details
of setting up your new office location to attend the Taylor Swift concert in downtown Atlanta.

        On May 1, 2023, while you were at the Company’s office, video footage showed that you spent
the vast majority of your time in your office with your head on your desk, apparently recovering from
being out for the concert and not being up to working.

     On May 2, 2023, you sent Dr. Bacon a text message informing him that you were going to work
somewhere else as you had found a new job opportunity. After this date, you did not come back to the
Company for work.

        After your departure date, we are now aware that you reached out to various individuals to try
to obtain information in order to make claims maliciously against Dr. Bacon.

       On May 22, 2023, you made serious allegations to Life University regarding Dr. Bacon’s actions
during your time in the PEAK program. Based on information from Life University, we understand that
you made similar allegations to the Georgia Board of Chiropractic Examiners (the “Board”) on the same
date.

II.     You made false statements to Life University and the Board regarding the Bacon Parties.

       The false statements made to Life University, and to the Board, against the Bacon Parties
included the following:

        1) that Dr. Bacon took frequent vacations and left students in the Company’s office to perform
           adjustments without Dr. Bacon’s supervision, in violation of PEAK program rules and
           Georgia regulations governing chiropractors. These vacations were allegedly taken on:

                 a. October 6, 7, 10, 20, 21, and 31, 2022,
                 b. February 2, 3, 15, 16, and 17, 2023, and
                 c. March 3, 6, 7, 8, 16, and 17, 2023;

        2) that Dr. Bacon intimidated you and other students and told you and those other students not
           to report violations of PEAK program rules and Georgia regulations governing
           chiropractors; and

        3) that Dr. Bacon never took a single patient care note, that no notes are ever kept on patient
           care, and when patient care notes were requested, they were fabricated.

      3754 Lavista Road, Suite 250 | Tucker, Georgia 30084 | Telephone: (404) 373-5153 | Facsimile: (404) 537-1761
                           Website: www.roblgroup.com | Email: michael@roblgroup.com
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                                    ROBL LAW GROUP LLC
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        These statements were, and are, false. First, although you alleged that Dr. Bacon was not present
to oversee interns on numerous dates, Dr. Bacon was not the PEAK program supervisor at issue for any
of the February or March dates you referenced. To the contrary, he was only the PEAK program
supervisor during the October dates you cited, and for all but one of those dates, Dr. Wilkie was
observing, so interns were not left unsupervised. One the one other occasion, Dr. Bacon was present in
person. There was never a time that interns were left without the supervision of a licensed chiropractor
and PEAK doctor. Those are simply false statements.

         Second, although you allege that Dr. Bacon intimidated you and told you not to report violations
of PEAK program rules and Georgia regulations governing chiropractors, you gave Dr. Bacon and his
practice a glowing recommendation in your video-taped exit interview. I understand that Dr. Bacon was
not present when you recorded the exit interview, nor were you in any way compelled to give the exit
interview. I have watched that video, and it would make excellent evidence in a trial, and fully debunk
the claim that you thought anything was improper. Indeed, you accepted an offer to work for the Bacon
Parties.

        Finally, although you claim that Dr. Bacon never took a single patient care note, that no notes
are ever kept on patient care, and when patient care notes were requested, they were fabricated, that is
entirely false. In a lawsuit we could produce patient care notes.

III.     The Bacon Parties have been damaged significantly by your misconduct.

        Because of your defamatory statements, Dr. Bacon was placed on indefinite suspension of the
PEAK program. That indefinite suspension required the Bacon Parties to replace work normally done
by student interns with an additional paid chiropractor and paid social media manager. The Company
has spent approximately $60,000 on salary for the additional chiropractor and approximately $30,000
to pay the social media manager.

        Additionally, the Bacon Parties paid approximately $9,000 in preparing for your expected start,
including setting up a new legal entity, hiring professional consultants to assist with that expansion, and
other expenses. When you unexpectedly quit your position with the Company, the Bacon Parties were
out that $9,000.

       The Bacon Parties have also incurred thousands of dollars of legal fees to address the damage
caused by your false statements.

      Accordingly, the Bacon Parties intend to seek damages of not less than $100,000 for actual
damages caused by your false and defamatory statements.

        The Bacon Parties also intend to seek punitive damages, which are available for defamation
claims. The U.S. Supreme Court has held that it is appropriate to seek punitive damages of up to four
times the amount of compensatory damages. See Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 23, 111
S. Ct. 1032, 1046, 113 L. Ed. 2d 1 (1991) (finding punitive damages that were four (4) times the amount
of compensatory damages were proper and constitutional). Accordingly, in any suit or arbitration, Dr.

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Bacon intends to seek punitive damages of not less than $500,000 for your false and defamatory
statements, comprised of:

                 $60,000 on salary for the additional chiropractor to replace lost PEAK intern time;
                 $30,000 to pay the social media manager to replace lost PEAK intern time;
                 $9,000 in preparing for your expected start (legal entity filing, hiring consultants);
                 $3,000 legal fees (continuing to grow) to address defamation and breach of contract;
                 $400,000 as punitive damages, calculated as four times compensatory damages.

       Dr. Bacon also intends to seek his attorneys’ fees and costs of court if he is required to file suit.
Such fees and costs can be appropriately assessed against a party under Georgia law if requested as part
of damages.

IV.     The Bacon Parties intend to file legal action by May 22, 2024 for defamation and breach
        of contract.

        Your false statements constitute defamation under Georgia law. Additionally, these statements
violate the Confidentiality Agreement. Accordingly, the Bacon Parties intend to file a legal action
against you this coming week, by May 22, 2024, for defamation, breach of the Confidentiality
Agreement, and other legal claims.

A. Defamation action.

        A defamation claim arises under Georgia law when the following four (4) facts exist: (1) a false
and defamatory statement concerning the plaintiff; (2) an unprivileged communication to a third party;
(3) fault by the defendant amounting at least to negligence; and (4) special harm or the actionability of
the statement irrespective of special harm. Boyd v. Disabled Am. Veterans, 349 Ga. App. 351, 353, 826
S.E.2d 181 (2019).

           However, a claimant need not prove harm by showing specific monetary damages when false
statements are made that injure someone in his or her “trade, occupation or business”, as such statements
constitute slander per se (if oral) and libel per se (if written). See S. Co. v. Hamburg, 220 Ga. App. 834,
840, 470 S.E.2d 467 (1996) (“Statements which tend to injure one in his trade, occupation or business
have been held to be libelous per se.”) (quoting Walker v. Sheehan, 80 Ga. App. 606, 611, 56 S.E.2d
628 (1949)); see also O.C.G.A. § 51-5-4 (“(a) Slander or oral defamation consists in: . . . (3) Making
charges against another in reference to his trade, office, or profession, calculated to injure him therein .
. . (b) . . . in the situations described in paragraphs (1) through (3) of subsection (a) of this Code section,
damage is inferred.”).

       The statements you made as to Dr. Bacon were false and defamatory. They were made to both
Life University and the Board, i.e., they were published. You made the false and defamatory statements
with malice and the intent to injure Dr. Bacon’s profession as a chiropractor, i.e., his “trade, occupation
or business.” Because the statements made were against Dr. Bacon’s profession, special harm is
assumed without further proof, as such statements constitute defamation per se.



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        Life University indicated that your statements had a bearing on Dr. Bacon’s professional
reputation. In email correspondence with Dr. John Markham, the director of the PEAK program, Life
University indicated the truth or falsity of these allegations was serious to Life University. In fact, Life
University suspended Dr. Bacon from the PEAK program while it investigated the allegations. It later
exonerated Dr. Bacon by inviting him back to the PEAK program, but the damage had been done in
numerous respects, including that the Bacon Parties lost the benefits of a year of the PEAK program.

        I also want to impress the seriousness of this matter upon you from the perspective of Dr. Bacon.
Your false and defamatory statements led to a formal investigation by the Board and a formal
investigation by Life University. Dr. Bacon spent many sleepless nights concerned for his chiropractor’s
license and his career as a chiropractor. Dr. Bacon vehemently denies the false and defamatory
allegations you made to Life University and the Board and fully intends to prove that those statements
were false, including by taking legal action. Accordingly, the Bacon Parties may file suit in United
States District Court for the Northern District of Georgia, asserting claims for breach of the
Confidentiality Agreement, and for defamation under Georgia law, and for compensatory damages,
punitive damages, legal fees.

B. Breach of contract action.

        You entered into a binding contract with the Bacon Parties when you signed the Confidentiality
Agreement. The agreement states that it “is binding” and “applies to newly hired employees and current
employees” and “shall be considered a binding agreement….” (Confidentiality Agreement, ¶ II). That
agreement restricts your use of information learned while working with the Bacon Parties, and prevents
you from using that information afterward. Specifically, the contract provides: “Restricted information
shall include, but not be limited to, all information, matters and issues, whether know to the public or
not, that would be considered private, secret, or confidential….” (Confidentiality Agreement, ¶ III;
emphasis supplied).

        The Confidentiality Agreement contains a dispute resolution process. The dispute resolution
process permits the Company to institute binding arbitration procedures before the American
Arbitration Association (“AAA”) for violations of the restricted information provisions of the
Confidentiality Agreement. Your allegations to Life University and the Board violated the restricted
information provisions of the Confidentiality Agreement. Accordingly, arbitration is appropriate under
these circumstances, for which the Confidentiality Agreement requires you to split the cost of the
arbitration and arbitrator. The Bacon Parties may also request that the arbitrator hear their claim against
you for your defamatory statements.

       In accordance with Paragraph VIII of the Confidentiality Agreement, within 24 hours of notice,
which is hereby given by this letter, you must “make every effort to resolve the ‘Confidentiality and
Non-Disclosure Policy’ dispute and remedy any damage that may have occurred as a result of the
covered party’s violation of this Policy.” This notice is being given to you prior to 5:00 p.m. on May
17, 2024; accordingly, you are required to respond no later than 5:00 p.m. on Monday, May 20, 2024
(giving you the benefit of the intervening weekend, which may not be required by law).




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V.      Preservation of documents and electronic data.

       Due to the imminently contemplated litigation, we hereby demand that you preserve all
documents and electronic data (including emails, text messages, and social media posts) regarding
statements you have made about Dr. Bacon and the matters referenced in this letter.

        You may have sanctions imposed against you for spoliation of evidence if you delete, destroy,
or allow documents or data to be lost through inaction (such as by failing to turn off period overwrite
functions or delete on electronic devices). Such sanctions can range from being required to pay the
Bacon Parties’ legal fees for discovery of such matters, to having negative inferences drawn against
you in litigation, or to a jury being instructed to construe facts against you, or even to the imposition of
a default judgment against you.

       Accordingly, you should immediately secure and preserve all documents and electronic data
concerning these matters.

VI.     Retraction demand.

       The Bacon Parties hereby demand that you retract your false and defamatory statements to Life
University, the Board, and any other third parties to which you have made such statements orally or in
writing. Pursuant to the Confidentiality Agreement, the Bacon Parties demand that such retraction is
made within twenty-four (24) hours of receipt of this letter.

        A retraction letter has been prepared and enclosed with this letter for your signature. If the
retraction letter is not signed, scanned, and emailed back to the email address in the footer of this letter
within twenty-four (24) hours, the Bacon Parties intend to take all steps necessary to preserve their
rights. Those steps include the arbitration action and / or lawsuit described in this letter, and any other
steps the Bacon Parties deem necessary. The original copy of the retraction letter should also be sent to
my office address, which is also listed in the footer of this letter.

        By signing and returning the retraction letter, you are also authorizing my firm and Dr. Bacon
to send that letter to Life University, the Board, and any other third party that you made false statements
to as to Dr. Bacon.

                                                    Cordially,

                                                    ROBL LAW GROUP LLC


                                                    Michael D. Robl, Esq.

Encl.
-Confidentiality and Non-Disclosure Policy; and
-Retraction letter



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Cc.
-Dr. Robert Bacon




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                                            May 20, 2024



To whom it may concern,

       My name is Hailey Randall. I am writing this letter regarding statements that I made on or
around May 22, 2023 regarding Dr. Robert Bacon (“Dr. Bacon”). I communicated to Life University
and the Georgia Board of Chiropractic Examiners that Dr. Bacon had not followed program rules of
Life University’s PEAK chiropractic internship / externship program and that Dr. Bacon had not
followed Georgia’s regulations governing chiropractors.

       Those statements were false and I am hereby retracting them in their entirety. To the extent any
action was taken against Dr. Bacon, whether legal, professional, or otherwise, based on my false
statements, such action should be rescinded and Dr. Bacon’s record expunged.

         I am sorry for any damage my false statements may have had to Dr. Bacon and I am sending
this letter in an effort to rectify such damage.

       I declare that the foregoing is true and accurate under penalty of perjury under the laws of the
United States.

       Sincerely,



       Hailey Randall

                          [Notarization unnecessary per 28 U.S.C. § 1746]
